 

Case: 2:19-cr-00163-SDM Doc #: 10 Filed: 08/01/19 Page: 1 of 1 PAGEID #: 68
Case: 2:19-cr-00163-ALM *SEALED* Doc #: 7 Filed: 07/24/19 Page: 1 of 2 PAGEID #: 61

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

 

 

 

for the
Southern District of Ohio
United States of America
v ) @:49cr 168
) Case No.
) tgudge Marbley »
) : ~~
Yu Zhou :
Defendant
ARREST WARRANT

To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name af person to be arrested) Yy Zhou

who is accused of an offense or violation based on the following document filed with the court:

@ Indictment © Superseding Indictment O Information © Superseding Information

© Complaint
OC Probation Violation Petition © Supervised Release Violation Petition

O Violation Notice ( Order of the Court
This offense is briefly described as follows:

Conspiracy to Commit Theft of Trade Secrets in violation of 18 U.S.C. § 1832(a)(5); Theft of Trade Secrets in violation of

18 U.S.C. §§ 1832(a)(1), (3), (4) & 2; Conspiracy to Commit Wire Fraud in violation of 18 U.S.C. a% 1349; Wire Fraud in
violation of 18 U.S.C. §§ 1343 & 2 eo

    
 

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Date: (SB fi ~
S e i B STEN me Tees
City and state: Clee g I. ‘ / - CeD2DIC core ; =

Return

This warrant was received on a “/- Se 29 | 4 , and the person was arrested on (date) ?- aq -20] 4

at (city and state) Sie A iego }

ee 7 31-2019 Q# Coble,

Arresting officer's signature

Deli, Dobbs Speci | Aaeat/ ERT

Printed name and title

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